        Case 2:22-cv-04901-GRB-AYS Document 4 Filed 08/19/22 Page 1 of 1 PageID #: 23

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                      Eastern District
                                                    __________         of of
                                                                District  New   York
                                                                             __________

             BIOREFERENCE HEALTH, LLC                                 )
                                                                      )
                                                                      )
                                                                      )
                            Plaintiff(s)                              )
                                                                      )
                                v.                                           Civil Action No. 22-cv-04901-GRB-AYS
                                                                      )
    BELLHAVEN MANAGEMENT, LLC d/b/a                                   )
BELLHAVEN CENTER FOR REHABILITATION AND                               )
             NURSING CARE                                             )
                                                                      )
                           Defendant(s)                               )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Bellhaven Management, LLC d/b/a
                                           Bellhaven Center for Rehabilitation and Nursing Care
                                           110 Beaver Dam Road
                                           Brookhaven, New York 11719




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Eric Corngold
                                           FRIEDMAN KAPLAN SEILER & ADELMAN LLP
                                           7 Times Square
                                           New York, NY 10036



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

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                                                                               CLERK OF COURT


Date:    08/19/2022
                                                                                          Signature of Clerk or D
                                                                                                                Deputy Clerk
